Case 2:22-cv-11191-GAD-CI ECF No. 238, PageID.16710 Filed 04/15/25 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                      Case No. 19-13652
v.                                                 U.S. DISTRICT COURT JUDGE
                                                      GERSHWIN A. DRAIN
EES COKE BATTERY, LLC, et al.,

                  Defendants.

 _________________________/

 ORDER GRANTING JOINT MOTION TO POSTPONE SUBMISSION OF
             PRETRIAL ORDER BY TWO WEEKS

      Presently before the Court is the parties’ Joint Motion to Postpone Submission

of Pretrial Order by Two Weeks. The Court being fully advised in the premises,

      IT IS ORDERED that the Motion is GRANTED. Motions in Limine and the

final pretrial order are due by May 6, 2025.

      SO ORDERED.

Dated: April 15, 2025                              /s/Gershwin A. Drain
                                                   GERSHWIN A. DRAIN
                                                   United States District Judge
Case 2:22-cv-11191-GAD-CI ECF No. 238, PageID.16711 Filed 04/15/25 Page 2 of 2




                        CERTIFICATE OF SERVICE

          Copies of this Order were served upon attorneys of record on
               April 15, 2025, by electronic and/or ordinary mail.
                              /s/ Marlena Williams
                                Case Manager




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